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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                  *        CRIMINAL DOCKET

VERSUS                                                    *        NO. 09-210 and
                                                                   NO. 99-396

DONALD ELLERY CARTER                                      *        SECTION "F"


                                ORDER AND REASONS

     Before the Court is Donald Carter’s motion under 28 U.S.C. §

2255 to vacate, set aside, or correct sentence.1                   For the reasons

that follow, the motion is DENIED.

                                   Background

     Donald Ellery Carter, a federal prisoner, moves this Court to

vacate, set aside, or correct sentence, based on ineffective

assistance of counsel.

     On   May    3,    2000,    Carter    pleaded   guilty    to     one   count    of

conspiracy      to    possess   with     intent   to   distribute      cocaine      in

violation of 21 U.S.C. § 846 and two counts of possession with

intent to distribute cocaine under 21 U.S.C. § 841(a)(1). Carter

was sentenced to ten years imprisonment and a supervised release

term of five years. On September 10, 2007, Carter was released from



     1
      Carter submitted two identical motions to the Court, one
concerning Criminal Action No. 99-396 and one for Criminal Action
No. 09-210. Both motions are dealt with together by the
Government’s response and the Petitioner’s reply papers and,
thus, are dealt with together here.

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federal custody to begin his five year period of supervised

release.

     In early 2009, an FBI confidential source purchased heroin

from Carter on two occasions, on January 24 and April 27. On July

9, 2009, the FBI executed a warrant for Carter’s arrest and found

in his possession approximately 100 grams of heroin, $2,5700 in

cash, 3 scales and a drug press used to mold heroin. The Government

filed a rule to revoke Carter’s remaining term of surprised

release. On April 10, 2010, Carter pleaded guilty to one count of

distribution of heroin under 21 U.S.C. §§ 841(a)(1),841(b)(1)(B),

841(b)(1)(C) and to a bill of information under 21 U.S.C. § 851(a)

to establish Carter’s prior conviction for possession with intent

to distribute. This Court sentenced Carter to a ten year sentence

for the heroin charge and five years for violating his supervised

release term, to run consecutively. Counsel for Carter objected to

the imposition of the maximum sentence for the supervised release

violation, but offered no further objections.

     Carter now seeks relief under 28 U.S.C. § 2255, claiming

ineffective assistance of counsel.

                                   I.

     A federal prisoner may file a motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255.            Section 2255(a)

allows a prisoner in federal custody to challenge a sentence

imposed in violation of the U.S. Constitution, including the Sixth


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Amendment,       which     guarantees     criminal     defendants        the    right   to

assistance of counsel.              Accordingly, a habeas petitioner may

properly claim ineffective assistance of counsel as a grounds for

challenging his sentence.

       Ineffective assistance of counsel claims are analyzed under

the test established in Strickland v. Washington, which requires

the defendant to show (1) counsel’s performance was deficient and

(2) the deficient performance prejudiced the defense.                           466 U.S.

668, 687 (1984).            To satisfy the first prong of the test, a

defendant must prove that counsel’s conduct fell below an objective

standard of reasonableness.              Id. at 688.        To satisfy the second

prong, a defendant must prove a reasonable probability of a

different        result,    but   for     counsel’s     errors.          Id.    at     694.

Additionally, the court must presume “that counsel’s conduct falls

within the wide range of reasonable professional assistance . . .

the    defendant     must    overcome      the   presumption       that,       under    the

circumstances, the challenged action might be considered sound

. . . strategy.” Id. at 689.

                                           A.

       When advising a client regarding a guilty plea, counsel must

provide a defendant with an understanding of the law in relation to

the facts such that the defendant can enter a knowing and voluntary

plea. U.S. v. Cavitt, 550 F.3d 430, 440-41 (5th Cir. 2008)(quoting

Herring     v.    Estelle,    491   F.2d    125,      128   (5th   Cir.    1974)).       To

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determine if counsel’s performance is deficient in regards to a

plea agreement, the Court must determine whether counsel was

familiar with the relevant facts and law such that his advice

permitted the defendant to make an informed, voluntary plea.

Cavitt, 550 F.3d at 441. To determine whether a defendant has ben

prejudiced by counsel’s advice regarding a plea bargain, the

defendant must show that, but for counsel’s advice, there is a

reasonable probability he would not have pled guilty and would have

instead gone to trial. Hill v. Lockhart, 474 U.S. 52, 59 (1985).

                                   B.

     Under 18 U.S.C. §    3583, a court may consider several factors

set forth in § 3553(a) when sentencing a defendant for revocation

of supervised release: the nature and circumstances of the offense

and history of the defendant (§ 3353(a)(1)), affording adequate

deterrence to criminal conduct (§ 3353(a)(2)(B)), protection of the

public from further crimes of the defendant (§ 335(a)(2)(C)), and

the provision of needed educational or vocational training, medical

care or other correctional treatment to the defendant in the most

efficient manner (§ 3353(a)(2)(D)). The Court may not, however,

consider § 3353(a)(2)(A) factors and cannot sentence a defendant

for revocation of supervised release “to reflect the seriousness of

the offense, to promote respect for the law, and the provide just

punishment for the offense.” U.S. v. Miller, 634 F.3d 841, 844 (5th

Cir. 2011).

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                                   II.

     To prevail on his application for habeas relief, Carter must

prove that defense counsel rendered ineffective assistance, as

defined in Strickland v. Washington, 466 U.S. at 687.                     He has

failed to do so.

                                   A.

     The petitioner first argues that counsel was ineffective by

promising him that his sentences for heroin distribution and

violation of his supervised release would run concurrently, and

that counsel failed to inform him that the sentencing guidelines

require consecutive sentences. Section 7B1.3(f) of the United

States Sentencing Guidelines provides:

     Any term of imprisonment imposed upon the revocation of
     probation or supervised release shall be ordered to be served
     consecutively to any sentence of imprisonment that the
     defendant is serving, whether or not the sentence of
     imprisonment being served resulted from the conduct that is
     the basis of the revocation of probation or supervised
     release.

     While petitioner claims that counsel was deficient in not

providing him this information, the petitioner makes no claims that

counsel’s advice actually prejudiced him. In fact, Carter never

claims   that   had   counsel   told       him   his   sentences     would       run

consecutively and not concurrently, he would have opted not to

plead guilty, and instead, would have proceeded to trial, where he

faced a maximum sentence of life in prison. Notably, according to


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the transcript of the rearraignment hearing, this Court informed

the petitioner that he may receive a sentence of life in prison, a

fine of $4 million and/or an eight year term of supervised release

with a mandatory minimum sentence of 10 years in prison if he

proceeded with trial.        The petitioner, under oath, indicated his

understanding of his possible sentence and ultimately pled guilty,

stating that he was guilty and was not influenced or persuaded to

plead guilty because of any promises of leniency.                      Therefore, not

only does the petitioner not claim that he would have proceeded to

trial if he knew his plea bargained prison sentence would last 15

years and not 10 years total, but it appears unlikely that this

would    have    occurred,   based    on       the   petitioner’s        demonstrated

understanding of his much greater maximum sentence had he proceeded

to trial.       Thus, the petitioner fails to meet the second prong of

Strickland regarding his first claim of ineffective assistance of

counsel; he fails to prove that he was actually prejudiced by

counsel’s advice regarding his plea bargain offer.

                                          B.

        The petitioner next argues that this Court improperly relied

on the factors set forth in 18 U.S.C. § 3353(a)(2)(A) when imposing

a five-year prison sentence for his violation of supervised release

to    run   concurrently     with     a       ten-year    prison       sentence        for

distribution of heroin.           However, this Court never stated a

reliance on the prohibited factors; instead, the Court considered


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the factors allowed under § 3583. This Court considered the

petitioner’s history and character (“This is a bad person . . . He

is a drug dealer, and he has returned to dealing drugs”), the need

to afford adequate deterrence to criminal conduct (“If anybody is

a role model, a paradigm of danger to this community, it is someone

like the defendant”), and the need to protect the public from

further crimes of the petitioner (“He is a danger to the community

. . . the drugs that this defendant dealt are almost immediately

addictive, life threatening, and constitute a part of a culture in

this community that results in early deaths of young people . . .

he is simply a bad risk and he is a danger to the community”).

Therefore, Carter has failed to show that this Court considered the

prohibited factors.

     The petitioner argues that counsel was ineffective in failing

to object to the alleged consideration of improper sentencing

factors and, because of counsel’s failure to object, his appeal to

the Fifth Circuit was reviewed on a plain error standard. However,

the petitioner has failed to demonstrate any error “plain or

otherwise” to the Fifth Circuit. U.S. v. Carter, 428 Fed. Appx. 483

(5th Cir. 2011). Even if counsel had objected to the Court’s

supposed consideration of § 3553(a)(2)(A) factors, the outcome of

the appeal would not have changed, and thus, the petitioner was not

prejudiced by counsel’s failure to object.




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                                          C.

       Lastly, the petitioner          contends that counsel was ineffective

in failing to investigate possible character witnesses for the

sentencing portion of his hearing. However, the petitioner, during

the     rearraignment       hearing,     described        his    satisfaction          with

counsel’s        performance    and    affirmed      he    had       enough     time      to

investigate all avenues of a defense with counsel. Further, before

the Court imposed his sentence, Carter declined the opportunity to

speak on his own behalf in favor of mitigation. Moreover, counsel’s

decision whether or not to call witnesses is typically a matter of

strategy, and thus, not subject to an ineffective assistance of

counsel claim. Bray v. Quaterman, 265 Fed. Appx. 296, 298 (5th Cir.

2008). To prevail on an ineffective assistance of counsel claim

based on counsel’s failure to call witnesses, a petitioner must

name the witnesses and demonstrate that the witness was available

to testify and would have done so, lay out the testimony of the

witness and show the particular witness would be helpful to the

defense. Id. The petitioner asserts that “numerous family and

friends were willing to” either testify or write letters on his

behalf; however, the petitioner does not provide the required

details     to    demonstrate    that     the   failure         to   call     mitigating

witnesses        at   his   sentencing    hearing     constituted            ineffective

assistance of counsel.

       Accordingly, Carter’s § 2255 motion to vacate, set aside, or


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correct sentence is DENIED.

                      New Orleans, Louisiana, February 21, 2013



                                  ______________________________
                                       MARTIN L. C. FELDMAN
                                   UNITED STATES DISTRICT JUDGE




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